Case 17-18777              Doc 45          Filed 09/13/19 Entered 09/13/19 16:35:35                                   Desc Main
                                             Document     Page 1 of 5




 B2100A (Form 2100A) (12/15)


                           United States Bankruptcy Court
                           _______________
                           Northern        District Of _______________
                                                       Illinois

       Herman Perez and Nicole Perez
 In re ______________________________,                                     17-18777
                                                                  Case No. ________________



                   TRANSFER OF CLAIM OTHER THAN FOR SECURITY
 A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
 Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
 transfer, other than for security, of the claim referenced in this evidence and notice.

 U.S. BANK TRUST NATIONAL ASSOCIATION                                        New Penn Financial, LLC d/b/a
 AS TRUSTEE OF LODGE SERIES IV TRUST
 ______________________________________                                      Shellpoint Mortgage Servicing
                                                                             ____________________________________
            Name of Transferee                                                           Name of Transferor

 Name and Address where notices to transferee                                 Court Claim # (if known): 2
 should be sent:                                                              Amount of Claim: $281,390.01
 c/o BSI Financial Services                                                   Date Claim Filed: 07/24/2017
 1425 Greenway Drive, Ste 400
 Irving, TX 75038
        800-327-7861
 Phone: ______________________________                                               (800) 365-7107
                                                                             Phone: __________________________
                             9755
 Last Four Digits of Acct #: ______________                                                               9755
                                                                             Last Four Digits of Acct. #: __________

 Name and Address where transferee payments
 should be sent (if different from above):
 c/o BSI Financial Services
 314 S. Franklin St 2nd Floor
 Titusville, PA 16354
 Phone: _______________________________
 Last Four Digits of Acct #: _______________



 I declare under penalty of perjury that the information provided in this notice is true and correct to the
 best of my knowledge and belief.

    /s/ Michelle R. Ghidotti-Gonsalves
 By:__________________________________                                             9/13/2019
                                                                              Date:____________________________
         Transferee/Transferee’s Agent


 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
Case 17-18777   Doc 45   Filed 09/13/19 Entered 09/13/19 16:35:35   Desc Main
                           Document     Page 2 of 5
Case 17-18777   Doc 45   Filed 09/13/19 Entered 09/13/19 16:35:35   Desc Main
                           Document     Page 3 of 5
Case 17-18777   Doc 45   Filed 09/13/19 Entered 09/13/19 16:35:35   Desc Main
                           Document     Page 4 of 5
Case 17-18777   Doc 45   Filed 09/13/19 Entered 09/13/19 16:35:35   Desc Main
                           Document     Page 5 of 5
